Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 1 of 16 PageID #:2177
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 2 of 16 PageID #:2178
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 3 of 16 PageID #:2179
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 4 of 16 PageID #:2180
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 5 of 16 PageID #:2181
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 6 of 16 PageID #:2182
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 7 of 16 PageID #:2183
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 8 of 16 PageID #:2184
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 9 of 16 PageID #:2185
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 10 of 16 PageID #:2186
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 11 of 16 PageID #:2187
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 12 of 16 PageID #:2188
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 13 of 16 PageID #:2189
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 14 of 16 PageID #:2190
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 15 of 16 PageID #:2191
Case: 1:17-cv-00194 Document #: 89-2 Filed: 06/02/17 Page 16 of 16 PageID #:2192
